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 1   KALPANA SRINIVASAN (237460)
     OLEG ELKHUNOVICH (269238)
 2   GLENN BRIDGMAN (298134)
     MICHAEL ADAMSON (321754)
 3   SUSMAN GODFREY L.L.P.
     1900 Avenue of the Stars, Suite 1400
 4   Los Angeles, California 90067-6029
     Telephone: (310) 789-3100
 5   Facsimile: (310) 789-3150
     ksrinivasan@susmangodfrey.com
 6   oelkhunovich@susmangodfrey.com
     gbridgman@susmangodfrey.com
 7   madamson@susmangodfrey.com
 8   IAN B. CROSBY (Pro hac vice)
     SUSMAN GODFREY L.L.P.
 9   1201 Third Avenue, Suite 3800
     Seattle, Washington 98101-3000
10   Telephone: (206) 516-3800
     Facsimile: (206) 516-3883
11   icrosby@susmangodfrey.com
12   Attorneys for Defendants Bitdefender S.R.L. and Bitdefender Inc.
13                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                         OAKLAND DIVISION
16
     FINJAN, INC., a Delaware Corporation,            Case No: 4:17-cv-04790-HSG
17
                           Plaintiff,                 DECLARATION OF MICHAEL
18                                                    ADAMSON IN SUPPORT OF
             v.                                       DEFENDANTS’ REQUEST FOR
19
     BITDEFENDER INC., a Florida Corporation,         JUDICIAL NOTICE RE: ORDER
20   and BITDEFENDER S.R.L., a Romanian               DENYING FINJAN’S MOTION FOR
     Corporation,                                     RECONSIDERATION OF AN ORDER
21                                                    EXCLUDING THE OPINIONS OF
                           Defendants.                FINJAN’S EXPERTS
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     ADAMSON DECLARATION ISO DEFENDANTS’                                Case No. 4:17-cv-04790-HSG
     REQUEST FOR JUDICIAL NOTICE
     5977227v1/015723
      Case 4:17-cv-04790-HSG Document 200-1 Filed 12/23/19 Page 2 of 2



 1       I, Michael Adamson, declare as follows:
 2       1.     I am an attorney in the law firm of Susman Godfrey L.L.P., and counsel for
 3   Bitdefender Inc. and Bitdefender S.R.L. (collectively, “Bitdefender”). I have personal knowledge
 4   of the facts set forth herein, and if called as a witness, would testify competently thereto.
 5       2.     Attached hereto as Exhibit A is a true and correct copy of Judge Cathy Ann
 6   Bencivengo’s Order Denying Finjan’s Motion for Reconsideration from Finjan, Inc. v. ESET,
 7   LLC, No. 3:17-cv-0183-CAB-(BGS) (S.D. Cal. Dec. 23, 2019).
 8            I declare under penalty of perjury under the laws of the United States that the foregoing is
 9   true and correct.
10            Executed on December 23, 2019 in Los Angeles, California.
11
                                                    /s/ Michael Adamson
12                                                  Michael Adamson
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     ADAMSON DECLARATION ISO                                                     Case No. 4:17-cv-04790-HSG
     DEFENDANTS’ REQUEST FOR JUDICIAL
     NOTICE                                          1
     5977227v1/015723
